Case 1:22-cv-00004-FB-RER Document 1 Filed 01/03/22 Page 1 of 4 PageID #: 1




 Michael Maragoudakis, Esq. (MM8088)
 Madison N. Kelley, Esq. (5876933)
 MARTINEZ & RITORTO, P.C.
 30 Wall Street, 8th Floor
 New York, New York 10005
 Tel. (212) 248-0800
 Attorneys for Defendant
 JETBLUE AIRWAYS CORPORATION

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


  REGINA CANELA,
                                                     Case No.:
                        Plaintiff,
          -against-
                                                     DEFENDANT’S NOTICE OF
  JETBLUE AIRWAYS CORPORATION,                             REMOVAL

                        Defendant.                             ECF CASE


                Defendant JETBLUE AIRWAYS CORPORATION (hereinafter

 “JETBLUE”), by its attorneys, Martinez & Ritorto, P.C., for removal of this action from

 the Supreme Court of the State of New York, Queens County, to the United States

 District Court for the Eastern District of New York, respectfully shows this Honorable

 Court:

                1.     The Summons and Complaint in this action were served on

 JETBLUE via the New York Secretary of State on September 16, 2021; a true copy of

 the Notice of Service from the New York Secretary of State is attached hereto as Exhibit

 “A” and made a part hereof.

                2.     True copies of the Summons and Complaint, which were received

 by JETBLUE on or about December 2, 2021, are attached hereto as Exhibit “B” and

 made a part hereof.
Case 1:22-cv-00004-FB-RER Document 1 Filed 01/03/22 Page 2 of 4 PageID #: 2




                3.      True copies of the Summons and Complaint filed with the Clerk of

 the Supreme Court of the State of New York, County of Queens, are attached hereto as

 Exhibit “C” and made a part hereof.

                4.      A Supplemental Summons and Amended Complaint, were filed

 with the Clerk of the Supreme Court of the State of New York, County of Queens, and

 served on JETBLUE on December 14, 2021, true copies of which are attached hereto as

 Exhibit “D” and made a part hereof.

                5.      That, upon information and belief, the aforementioned Summons

 and Complaint and the Supplemental Summons and Amended Complaint were the only

 pleadings delivered to JETBLUE in the said action.

                6.      That the above-referenced action is a civil action allegedly arising

 out of bodily injuries sustained by Plaintiff on or about September 15, 2018, while

 boarding a JETBLUE flight at JFK International Airport in Queens, New York.

                7.      According to the attached Declaration of JETBLUE Employee

 Devina Dewnarayan (a true copy of which are attached hereto as Exhibit “E” and made a

 part hereof (personal information redacted)), Plaintiff’s flight on September 15, 2018 was

 headed to Ciabo International Airport in the Dominican Republic.

                8.      That the instant Notice of Removal is filed within thirty (30) days

 after JETBLUE first received a copy of Plaintiff’s Supplemental Summons and Amended

 Complaint from which JETBLUE could first ascertain that the action was removable.

                                 BASIS FOR REMOVAL

                9.      That the basis for removal is that this action is one over which the

 District Courts of the United States have original jurisdiction by reason of Federal




                                              2
Case 1:22-cv-00004-FB-RER Document 1 Filed 01/03/22 Page 3 of 4 PageID #: 3




 Question Jurisdiction under Title 28, United States Code, Section 1331 on the basis that

 the Montreal Convention, reprinted in S. Treaty Doc. No. 106-45, preempts state law

 standards governing aviation safety and flight operations concerning international flight.

 (See also Biscone v. JetBlue Airways Corp., 681 F. Supp. 2d 383, 386 (E.D.N.Y. 2010))

 (“Because the Montreal Convention does in fact provide a federal cause of action, a claim

 under the Montreal Convention presents a federal question sufficient to invoke federal

 jurisdiction.”). According to the allegations contained in the Amended Complaint,

 Plaintiff was allegedly injured while boarding an international flight from New York to

 the Dominican Republic. Therefore, by virtue of the provisions of Title 28, United States

 Code, Section 1441(a), the entire case is one that may be removed to this Court.

                WHEREFORE, Defendant respectfully submits that: 1) this Notice

 complies with the statutory removal requirements; 2) this action should proceed in this

 Honorable Court as a properly removed action; and 3) Defendant should have such other

 and further relief as this Court may deem just and proper.

 Dated: New York, New York
        January 3, 2022


                                              MARTINEZ & RITORTO, P.C.

                                                    /S Michael Maragoudakis
                                              By __                     ____
                                                 Michael Maragoudakis, Esq. (MM8088)

                                                  Madison N. Kelley, Esq. (5876933)
                                                  30 Wall Street, 8th Floor
                                                  New York, New York 10005

                                                  Attorneys for Defendant
                                                  JETBLUE AIRWAYS CORPORATION




                                              3
Case 1:22-cv-00004-FB-RER Document 1 Filed 01/03/22 Page 4 of 4 PageID #: 4




 TO:
 Joseph G. Dell, Esq.
 Dell & Dean, PLLC
 1225 Franklin Avenue
 Suite 450
 Garden City, N.Y. 11530

 Attorneys for Plaintiff




                                    4
